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 6
                                     UNITED STATES DISTRICT
 7                               WESTERN DISTRICT OF WASHINGTON
                                        TACOMA DIVISION
 8

 9   MONET CARTER-MIXON, as Personal
     Representative of the Estate of MANUEL
10   ELLIS, and MARCIA CARTER,
11                                                        No. ________________
     Plaintiffs,
12                                                        COMPLAINT FOR DAMAGES UNDER
     v.                                                   42 § U.S.C 1983 AND WASHINGTON
13                                                        LAW
     CITY OF TACOMA, CHRISTOPHER
14   BURBANK, MATTHEW COLLINS,                            JURY DEMAND
     MASYIH FORD, TIMOTHY RANKINE,
15   ARMANDO FARINAS, RON
     KOMAROVSKY, PIERCE COUNTY, GARY
16   SANDERS, and ANTHONY MESSINEO,
17   Defendants.
18
               Plaintiffs, MONET CARTER-MIXON as Personal Representative of the ESTATE OF
19
20   MANUEL ELLIS, and MARCIA CARTER, by and through their attorneys, allege as follows:

21        I.       NATURE OF ACTION

22             1.1.   Introduction. This case arises from the wrongful killing of Manuel Ellis in Tacoma,
23                    Washington on March 3, 2020. This is a civil rights action brought by Plaintiffs
24
                      Monet Carter-Mixon, as Personal Representative of the Estate of Manuel Ellis, and
25
                      Marcia Carter, pursuant to 42 U.S.C. § 1983 and the Fourth and Fourteenth
26
                      Amendments, as well as pendent claims under Washington Law. Plaintiffs’ claims
27


      COMPLAINT - 1                                                                JAMES BIBLE LAW GROUP
                                                                                 14205 SE 36TH STREET SUITE 100
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 1               are asserted against the City of Tacoma; Tacoma Police Officers Matthew Collins,
 2               Christopher Burbank, Timothy Rankine, Masyih Ford, Armando Farinas, and Ron
 3
                 Komarovksy; Pierce County; and Pierce County Sheriff Deputies Gary Sanders and
 4
                 Anthony Messineo.
 5
          1.2.   Officers Matthew Collins, Christopher Burbank, Timothy Rankine, Masyih Ford,
 6
 7               Armando Farinas, and Ron Komarovsky were operating under the reckless

 8               direction and supervision of the Defendant City of Tacoma at the time Manuel Ellis

 9               was killed.
10
          1.3.   Despite the Defendant Officers wrongful conduct, Tacoma has effectively
11
                 approved and ratified their actions. The City of Tacoma implicitly and overtly
12
                 condones and defends officers that use excessive force against individuals. Tacoma
13
                 police officers are aware that they are unlikely to receive any discipline when they
14
15               use deadly force against a human being. The City of Tacoma repeatedly fails to

16               discipline officers who commit acts of excessive force, especially when it involves
17               the use of deadly force. Tacoma fails to identify officers who may have violated
18
                 individuals’ Fourth Amendment rights. Tacoma fails to log, document, and
19
                 investigate allegations of officer misconduct. The City of Tacoma’s policies
20
                 provide that documentation concerning complaints against officers and employee
21
22               reprimands is routinely destroyed. When Tacoma officers are investigated for

23               alleged misconduct the investigations are negligently conducted, and fail to adhere

24               to established law enforcement standards and Washington law. For these and other
25               reasons, the City of Tacoma is liable for the violation of Manuel Ellis’ civil rights
26
                 and wrongful death.
27


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 1           1.4.    Deputy Gary Sanders and Lieutenant Anthony Messineo were operating under the
 2                   reckless direction and supervision of the Defendant Pierce County at the time
 3
                     Manuel Ellis was killed.
 4
             1.5.    Despite the wrongful conduct of Deputy Gary Sanders and Lieutenant Anthony
 5
                     Messineo, Pierce County has effectively approved and ratified their actions. Pierce
 6
 7                   County implicitly and overtly condones and defends officers that use excessive

 8                   force against individuals. Pierce County law enforcement officers are aware that

 9                   they are unlikely to receive any discipline when they use deadly force against a
10
                     human being. Pierce County repeatedly fails to discipline officers who commit acts
11
                     of excessive force, especially when it involves the use of deadly force. Pierce
12
                     County fails to identify officers who may have violated individuals’ Fourth
13
                     Amendment rights. Pierce County fails to log, document, and investigate
14
15                   allegations of officer misconduct. Pierce County’s policies provide that

16                   documentation concerning complaints against officers and employee reprimands is
17                   routinely destroyed. When Pierce County officers are investigated for alleged
18
                     misconduct the investigations are negligently conducted, and fail to adhere to
19
                     established law enforcement standards and Washington law. For these and other
20
                     reasons, Pierce County is liable for the violation of Manuel Ellis’ civil rights and
21
22                   wrongful death.

23     II.         PARTIES

24           2.1     Plaintiff Monet Carter-Mixon: Monet Carter-Mixon (“Ms. Carter-Mixon”) is the
25                   Personal Representative of the Estate of Manuel Ellis. She is the decedent’s sister
26
27


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 1               and a resident of Pierce County, Washington. Ms. Carter-Mixon brings this lawsuit
 2               on behalf of the Estate and statutory beneficiaries of Manuel Ellis.
 3
          2.2    Plaintiff Marcia Carter: Marcia Carter (“Ms. Carter”) is the mother of Manuel Ellis
 4
                 and she is a resident of Pierce County, Washington.
 5
          2.3    Defendant Christopher Burbank: At all times relevant, Christopher Burbank
 6
 7               (“Office Burbank”) was employed as a law enforcement officer by the Tacoma

 8               Police Department and was acting within the course and scope of his employment

 9               with the City of Tacoma and under the color of state law. Officer Burbank’s acts
10
                 alleged herein were taken for the benefit of the City of Tacoma and his marital
11
                 community.
12
          2.4    Defendant Matthew Collins: At all times relevant, Matthew Collins (“Officer
13
                 Collins”) was employed as a law enforcement officer by the Tacoma Police
14
15               Department and was acting within the course and scope of his employment with

16               the City of Tacoma and under the color of state law. Officer Collins’ acts alleged
17               herein were taken for the benefit of the City of Tacoma and his marital community.
18
          2.5    Defendant Timothy Rankine: At all times relevant, Timothy Rankine (“Officer
19
                 Rankine”) was employed as a law enforcement officer by the Tacoma Police
20
                 Department and was acting within the course and scope of his employment with
21
22               the City of Tacoma and under the color of state law. Officer Rankine’s acts alleged

23               herein were taken for the benefit of the City of Tacoma and his marital community.

24        2.6    Defendant Masyih Ford: At all times relevant, Masyih Ford (“Officer Ford”) was
25               employed as a law enforcement officer by the Tacoma Police Department and was
26
                 acting within the course and scope of his employment with the City of Tacoma and
27


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 1               under the color of state law. Officer Ford’s acts alleged herein was taken for the
 2               benefit of the City of Tacoma and his marital community.
 3
          2.7    Defendant Armando Farinas: At all times relevant, Armando Farinas (“Officer
 4
                 Farinas”) was employed as a law enforcement officer by the Tacoma Police
 5
                 Department and was acting within the course and scope of his employment with
 6
 7               the City of Tacoma and under the color of state law. Officer Farinas’ acts alleged

 8               herein were taken for the benefit of the City of Tacoma and his marital community.

 9        2.8    Defendant Ron Komarovsky: At all times relevant, Ron Komarovsky (“Officer
10
                 Komarovsky”) was employed as a law enforcement officer by the Tacoma Police
11
                 Department and was acting within the course and scope of his employment with
12
                 the City of Tacoma and under the color of state law. Officer Komarovsky’s acts
13
                 alleged herein were taken for the benefit of the City of Tacoma and his marital
14
15               community.

16        2.9    Defendant City of Tacoma: The City Tacoma is a municipal corporation located in
17               the Western District of Washington. At all times material to this Complaint,
18
                 Officers Collins, Burbank, Rankine, Ford, Farinas, and Komarovsky were agents
19
                 of the City of Tacoma, acting within the scope of their employment, and under color
20
                 of state law. The civil rights violations delineated herein were proximately caused
21
22               by Tacoma’s policies, customs, and the decisions of its policy-makers.

23        2.10   Defendant Gary Sanders: At all times relevant, Gary Sanders (“Deputy Sanders”)

24               was employed as a law enforcement officer by the Pierce County Sheriff’s Office
25               and was acting within the course and scope of his employment with Pierce County
26
27


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 1                    and under the color of state law. Deputy Sanders’ acts alleged herein were taken
 2                    for the benefit of Pierce County and his marital community.
 3
              2.11    Defendant Anthony Messineo: At all times relevant, Anthony Messineo
 4
                      (“Lieutenant Messineo”) was employed as a law enforcement officer by the Pierce
 5
                      County Sheriff’s Office and was acting within the course and scope of his
 6
 7                    employment with Pierce County and under the color of state law. Lieutenant

 8                    Messineo’s acts alleged herein were taken for the benefit of Pierce County and his

 9                    marital community.
10
              2.12    Defendant Pierce County: Pierce County is a municipal corporation located in the
11
                      Western District of Washington. At all times material to this Complaint, Deputy
12
                      Sanders and Lieutenant Messineo were agents of Pierce County, acting within the
13
                      scope of their employment, and under color of state law. The civil rights violations
14
15                    delineated herein were proximately caused by Pierce County’s policies, customs,

16                    and the decisions of its policy-makers.
17     III.         JURISDICTION AND VENUE
18
              3.1     This Court has jurisdiction over Plaintiffs’ federal claims pursuant to 28 U.S.C §§
19
                      1331 and 1343.
20
              3.2     This Court has jurisdiction over Plaintiffs’ state law claims pursuant to 28 U.S.C.
21
22                    § 1367.

23            3.3     Venue is appropriate in the Western District of Washington pursuant to 28 U.S.C.

24                    § 1391 because at least some of the Defendants reside in this judicial district and
25                    because the events and omissions giving rise to the claims alleged herein occurred
26
                      within the Western District of Washington, Tacoma Division.
27


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 1         IV.         FACTS
 2               4.1     On the evening of March 3, 2020 Manuel Ellis decided to go to his neighborhood
 3
                         7-Eleven store to get some snacks. He would never make it back home alive.
 4
                 4.2     At approximately 11:11 p.m., Manuel purchased a box of raspberry doughnuts and
 5
                         a bottle of water. The clerk who sold the items to him did not observe any odd
 6
 7                       behavior by Manuel or any indications that he was under the influence of drugs or

 8                       alcohol.

 9               4.3     As Manuel was walking home from the 7-Eleven he was confronted by Officer
10
                         Collins and Officer Burbank at the intersection of 96th Street S. and Ainsworth
11
                         Avenue S. in Tacoma.
12
                 4.4     As confirmed by multiple eyewitnesses, Manuel was not the aggressor and Officers
13
                         Collins and Burbank physically assaulted him while his back was turned.
14
15               4.5     Officer Burbank initially struck Manuel with the door of his vehicle.

16               4.6     The Officers then got out of their marked Tacoma Police Department vehicle,
17                       slammed Manuel down, and repeatedly struck him in the face with punches and
18
                         elbows.1
19
                 4.7     Manuel was unarmed during this incident.
20
                 4.8     Officer Collins was armed and outfitted in body armor at the time of the incident.
21
22                       He had previously served in the United States Army for approximately eight years

23                       and was very experienced in hand to hand combat. In addition to his Army Special

24                       Forces training Officer Collins had extensive training in grappling and martial arts.
25
     1
26     Part of this initial assault was recorded with a cell phone video by an independent eyewitness
     (S.M.) who happened to be driving behind the marked Tacoma Police Department vehicle. The
27   two cell phone videos recorded by the eyewitness S.M. are publicly available at
     https://www.youtube.com/watch?v=06fdr3ey62s.

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 1            4.9    Officer Burbank was armed and outfitted in body armor at the time of the incident.
 2                   He had previously served in the United States Army for approximately eight years
 3
                     and was very experienced in hand to hand combat.
 4
              4.10   Officer Collins elbowed Manuel in the face multiple times. He decided to use
 5
                     elbows rather that closed fist punches because he was concerned about breaking his
 6
 7                   hands.

 8            4.11   After striking Manuel several times in the face Officer Collins placed him in a

 9                   chokehold.2
10
              4.12   As Manuel was being choked, Officer Burbank pointed a X-26 TASER at his chest.
11
              4.13   Manuel put both of his hands up and tried to surrender to the Officers.
12
              4.14   The Officers continued to escalate the incident and Officer Burbank tased Manuel
13
                     in the chest. Officer Burbank proceeded to tase Manuel two more times while he
14
15                   was being restrained.3

16            4.15   With each shot, the X-26 TASER releases approximately 50,000 volts of electricity
17                   for a period of five seconds. Being tased causes significant pain and can cause
18
                     involuntary muscle contractions, defecation, and loss of control of bodily functions.
19
                     Further, when pointed at a person, a taser can sometimes appear to be a firearm.
20
              4.16   The pain and fear that Manuel experienced was excruciating as he was repeatedly
21
22                   tased while being choked.

23            4.17   Officers Rankine and Ford were the next officers to arrive on scene.

24
25
     2
      Officer Collins has characterized the chokehold as a Lateral Vascular Neck Restraint.
     3
26     Portions of this assault were recorded with a cell phone video by an independent eyewitness
     (S.C.) who happened to be approaching the intersection perpendicular to the Tacoma Police
27   Department vehicle. The cell phone video recorded by the eyewitness S.C. is publicly available at
     https://www.youtube.com/watch?v=kj8Qk9oGXa4.

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 1            4.18   After the incident, Officer Rankine reported that when he arrived on scene he
 2                   observed a black male subject that was proned out on the ground on his stomach.
 3
                     Officer Rankine stated, “Officer Burbank was on top of his upper torso, straddling
 4
                     his upper torso almost like he was riding a horse, with both of his hands pressed
 5
                     down on his upper body and then I saw Officer Collins try and secure both his legs.”
 6
 7            4.19   Officer Rankine joined in holding Manuel down and restraining him. Manuel was

 8                   face down and not resisting as Officer Rankine put his bodyweight on him, Manuel

 9                   struggled to breathe. At the time of the incident Officer Rankine weighed
10
                     approximately two hundred pounds.
11
              4.20   Manuel was already in handcuffs when Officer Ford helped restrain him on the
12
                     ground.
13
              4.21   Manuel cried out, “I can’t breathe sir, I can’t breathe!”
14
15            4.22   One of the Officers responded to Manuel’s cries for help by telling him to, “shut

16                   the fuck up!”
17            4.23   The Officers continued to aggressively restrain Manuel and they put hobbles on his
18
                     legs.
19
              4.24   Hobbling is more commonly known as “hogtieing.”4
20
              4.25   As Officer Rankine applied pressure to Manuel’s back, a gang of officers helped
21
22                   hogtie Manuel.

23            4.26   Deputy Sanders grabbed Manuel’s leg and assisted in restraining him.

24
25
     4
26     “Hogtie: to fasten someone's hands and feet together, or to fasten all four legs of an animal
     together.
27   Example: He was hogtied like a gutted deer.”
     Cambridge Dictionary, https://dictionary.cambridge.org/us/dictionary/english/hogtie.

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 1        4.27   At least four Officers helped hold Manuel down, physically restrain him, and hogtie
 2               him in the street.
 3
          4.28   At least one of the involved Officers described the hobble as resembling a “dog
 4
                 leash.”
 5
          4.29   The Defendant Officers treated Manuel like a dangerous wild animal as opposed to
 6
 7               a human being.

 8        4.30   Even after Manuel was handcuffed and hogtied, Officers Collins, Burbank,

 9               Rankine and Ford continued to place their body weight on Manuel. During that
10
                 time, Manuel continued to struggle for life and tried to say that he couldn’t breathe.
11
          4.31   Officer Komarovsky also arrived at the scene and used his knees, hands, and
12
                 bodyweight to prevent Manuel from moving.
13
          4.32   As Manuel laid on the street beaten, hogtied, handcuffed, and under the crushing
14
15               weight of several grown men, Officer Farinas arrived at the scene.

16        4.33   Officer Farinas observed that Manuel was lying face down in the street, restrained
17               by handcuffs and a hobble.
18
          4.34   Officer Farinas noted that Manuel had blood on his face and blood was coming
19
                 from his mouth.
20
          4.35   Officer Farinas placed a spit mask (a/k/a spit hood, transport hood, or spit sock)
21
22               over Manuel’s head.

23        4.36   Manuel was face down on the pavement and restrained when the spit mask was

24               placed over his head.
25        4.37   Manuel was not trying to spit on any of the law enforcement officers at the time the
26
                 spit mask was put over his head.
27


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 1        4.38   Prior to the application of the spit mask Manuel had said that he could not breathe.
 2        4.39   Despite that fact, none of the individually named Defendants did anything to stop
 3
                 Officer Farinas from putting a TPD-issued spit mask on Manuel.
 4
          4.40   Manuel was bleeding from his face and mouth at the time spit mask was put over
 5
                 his head.
 6
 7        4.41   The application of the spit mask further inhibited Manuel’s ability to breathe.

 8        4.42   The TPD-issued spit mask should have never been used on Manuel.

 9        4.43   The TPD-issued spit mask came with the following warnings:
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11
12
13
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15
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 1        4.44   The use of the spit mask on Manuel was a proximate cause of his death.
 2        4.45   The spit mask was used as a torture device for a punitive, non-law enforcement
 3
                 purpose. The spit mask was used to punish, dehumanize, and terrify Manuel.
 4
          4.46   Lieutenant Messineo arrived at the scene and reportedly never touched Manuel. He
 5
                 saw four officers controlling Manuel so “there was nothing for him to do.”
 6
 7        4.47   Lieutenant Messineo would later describe Manuel’s movements as “thrashing

 8               around like a fish out of water.”

 9        4.48   Despite that observation Lieutenant Messineo made no effort to assist Manuel.
10
          4.49   Deputy Sanders also made no effort to assist Manuel.
11
          4.50   Several minutes into the assault Manuel went limp and medical assistance was
12
                 requested.
13
          4.51   Officer Rankine has significant first aid experience from his time in the Army.
14
15        4.52   Officer Rankine did not attempt CPR or any other lifesaving measures while

16               waiting for Fire/EMS to arrive.
17        4.53   The Tacoma Fire Department arrived at the scene after Manuel had been
18
                 unconscious and unresponsive for several minutes.
19
          4.54   None of the law enforcement officers at the scene made any efforts to remove the
20
                 spit mask, handcuffs, or hobbles while waiting for the Fire Department to arrive.
21
22               Officers continued to restrain Manuel on the ground even after he had been

23               rendered unconscious.

24        4.55   The Defendants did not exhibit any concern for Manuel’s safety or well-being.
25               They did not care whether he lived or died.
26
27


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 1        4.56   Rather than transport Manuel to the hospital Tacoma firefighters attempted to
 2               provide medical aid at the scene. Their efforts were unsuccessful and Manuel was
 3
                 pronounced dead at the scene.
 4
          4.57   The body of Manuel Ellis was transported to the Pierce County Medical Examiner’s
 5
                 Office for an autopsy.
 6
 7        4.58   Officer Farinas assisted in gathering evidence at the scene and took custody of a

 8               spent TASER cartridge.

 9        4.59   Officer Farinas did so even though he had personally participated in the incident by
10
                 putting the spit mask on Manuel.
11
          4.60   Officer Farinas was assigned to be the Critical Incident Liaison Officer (CILO) for
12
                 Officer Burbank.
13
          4.61   Officer Farinas should never have been named the CILO because he had personally
14
15               participated in the incident by putting the spit mask on Manuel.

16        4.62   The Pierce County Sheriff’s Office took over the initial investigation into Manuel’s
17               death on the morning of March 4, 2020.
18
          4.63   Detective Byron Brockway of the Pierce County Sheriff’s Office was one of the
19
                 lead officers assigned to the investigation.
20
          4.64   Detective Brockway documented in his report that “Det/Sgt Sanders helped
21
22               secure the subject’s legs for hobbles.”

23        4.65   Under the laws of the State of Washington, the investigating agency must conduct

24               a conflict check prior to initiating an investigation.
25        4.66   Pierce County was aware or should have been aware that several of its law
26
                 enforcement personnel were present while Manuel was being killed, that Deputy
27


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 1               Sanders participated in restraining Manuel, and that its personnel could be liable
 2               for failing to intervene to stop excessive force. As a result, the Pierce County
 3
                 Sheriff’s Office should have immediately recused itself from the Manuel Ellis
 4
                 investigation.
 5
          4.67   Instead, the Pierce County Sheriff’s Office launched its sham investigation of this
 6
 7               killing.

 8        4.68   Through its official spokesperson Ed Troyer, the Pierce County Sheriff’s Office

 9               distributed several false statements to the public in the weeks following the death
10
                 of Manuel Ellis.
11
          4.69   Mr. Troyer told the public that Manuel had not been tased.
12
          4.70   Mr. Troyer told the public that Manuel had not been choked.
13
          4.71   Mr. Troyer’s false statements were intended to pacify community outrage and help
14
15               conceal the reality of what had happened on March 3, 2020 - that law enforcement

16               officers with the Tacoma Police Department and Pierce County Sheriff’s Office
17               had unlawfully killed Manuel Ellis.
18
          4.72   Pierce County violated both the spirit and letter of I-940 with its investigation of
19
                 this incident.
20
          4.73   In violation of Washington law, Pierce County (a) failed to give weekly press
21
22               releases in relation to its investigation, (b) failed to provide the Ellis family with a

23               liaison that would keep them informed on the status of the investigation, and (3)

24               failed to appoint any civilian representatives to its investigative team.
25        4.74   The investigation by Pierce County was negligently conducted and failed to adhere
26
                 to established law enforcement standards.
27


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 1        4.75   Pierce County investigators did not try to interview Officer Farinas.
 2        4.76   Pierce County investigators did not try to interview Officer Komarovsky.
 3
          4.77   Pierce County investigators did not try to identify or find any independent
 4
                 eyewitnesses.
 5
          4.78   Pierce County investigators did not try to identify the car (or find its driver) which
 6
 7               allegedly drew the initial attention of Officers Collins and Burbank.

 8        4.79   Officer Henry Betts of the Tacoma Police Department informed Pierce County

 9               investigators on March 4, 2020 that the four officers were all invoking their Fifth
10
                 Amendment Rights.
11
          4.80   Pierce County investigators did not interview Officers Collins, Burbank, Rankine,
12
                 or Ford until several days after the death of Manuel Ellis.
13
          4.81   Pierce County investigators did not video record the interviews, despite the fact that
14
15               they had the means easily available to do so.

16        4.82   The interviews conducted by Pierce County investigators were tainted from the start
17               because the Pierce County Sheriff’s Office was not an independent agency.
18
          4.83   At the time Pierce County investigators interviewed Officers Collins, Burbank,
19
                 Rankine, and Ford they knew or should have known that Pierce County could
20
                 potentially be held liable for the death of Manuel Ellis.
21
22        4.84   Immediately following the death of Manuel Ellis, the City of Tacoma put Officers

23               Collins, Burbank, Rankine, and Ford on paid administrative leave. Tacoma did not

24               put Officers Farinas or Komarovsky on leave.
25
26
27


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 1            4.85   Approximately two weeks after the incident Officers Collins, Burbank, Rankine,
 2                   and Ford were all allowed to return from administrative leave after completing a
 3
                     psychological examination.
 4
              4.86   The Tacoma Police Department failed to conduct any meaningful review of this
 5
                     incident prior to allowing Officers Collins, Burbank, Rankine, and Ford to return
 6
 7                   from administrative leave.

 8            4.87   The policy, custom, or practice of the Tacoma Police Department failing to conduct

 9                   any meaningful review of alleged excessive force incidents, including deadly force
10
                     incidents, prior to clearing officers to return to regular duty is a proximate cause of
11
                     the civil rights violations delineated herein.
12
              4.88   Pierce County Medical Examiner Dr. Thomas B. Clark, III finalized his autopsy
13
                     report in May 2020 and determined that the manner of death was homicide. Dr.
14
15                   Clark determined that the primary cause of Manuel Ellis’ death was hypoxia due to

16                   physical restraint.
17            4.89   Victoria Woodards is the Mayor of Tacoma. On June 4, 2020, after the public
18
                     release of S.M.’s cell phone video showing Officers Collins and Burbank assaulting
19
                     Manuel Ellis, Mayor Woodards voluntarily participated in a press conference and
20
                     addressed the public.
21
22            4.90   Among other statements at the June 4, 2020 press conference Mayor Woodards said

23                   that, “I am telling you that I am going to call for several things. And the officers

24                   that committed this crime should be fired and prosecuted to the full extent of the
25                   law.”5
26
     5
27    Video of Mayor Woodards June 4, 2020 press conference is publicly available at
     https://www.youtube.com/watch?v=xv_RSDr0kOk&t=151s.

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 1        4.91   Tacoma has not followed through on the Mayor’s statement. Despite overwhelming
 2               evidence that has come to light in the last 18 months showing that Tacoma police
 3
                 officers lied to investigators and wrongfully killed Manuel Ellis, Tacoma has
 4
                 ratified the actions of its Officers and declined to take any adverse action against
 5
                 them.
 6
 7        4.92   As the Ellis family and social justice organizations were demanding a full and fair

 8               investigation into the killing of Manuel Ellis, other officers within the Tacoma

 9               Police Department were sending texts of support to the Defendants. One such text
10
                 was sent on June 5, 2020 and said, “Just wanted to let you guys know that the whole
11
                 second floor backs you. You guys are studs and did nothing wrong…. Please don't
12
                 hesitate to call or text. I'm here for you guys no matter what and will help in any
13
                 way I can.” The Tacoma officer who sent that text has been sued on two separate
14
15               occasions for having shot people. In one case, as the person screamed out in pain

16               the officer told him to “shut the fuck up,” shockingly similar to the response to
17               Manuel Ellis’ cry for help. The Tacoma Police Department’s formal and informal
18
                 support of the Defendant Officers reflects the policies and customs of Tacoma that
19
                 ratifies and covers up officers’ misconduct and illegal use of excessive force.
20
          4.93   The Pierce County Sheriff’s Office should never have been leading the Manuel
21
22               Ellis investigation. From the very beginning the agency had an obvious conflict of

23               interest because Deputy Sanders had assisted in restraining Manuel.

24        4.94   The Washington State Patrol ultimately took over the Manuel Ellis investigation.
25               In addition to reviewing evidence already gathered by Pierce County the agency
26
27


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 1               undertook its own investigation and attempted to interview some relevant
 2               individuals.
 3
          4.95   Through his counsel, Officer Collins invoked his Fifth Amendment right against
 4
                 self-incrimination in October 2020 and refused to provide any statements to
 5
                 Washington State Patrol investigators.
 6
 7        4.96   Through his counsel, Officer Burbank invoked his Fifth Amendment right against

 8               self-incrimination in October 2020 and refused to provide any statements to

 9               Washington State Patrol investigators.
10
          4.97   Through his counsel, Officer Rankine invoked his Fifth Amendment right against
11
                 self-incrimination in October 2020 and refused to provide any statements to
12
                 Washington State Patrol investigators.
13
          4.98   Through his counsel, Officer Ford invoked his Fifth Amendment right against self-
14
15               incrimination in October 2020 and refused to provide any statements to Washington

16               State Patrol investigators.
17        4.99   Through his counsel, Officer Farinas invoked his Fifth Amendment right against
18
                 self-incrimination in October 2020 and refused to provide any statements to
19
                 Washington State Patrol investigators.
20
          4.100 The Washington State Patrol never requested an interview from Officer
21
22               Komarovsky.

23        4.101 The Washington State Patrol concluded its initial investigation in November 2020

24               and transmitted its file materials to the Washington State Attorney General’s Office
25               for potential prosecution.
26
27


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 1        4.102 After conducting an exhaustive review of the evidence, and applicable law, the
 2               Washington State Attorney General’s Office announced its charging decision in
 3
                 May 2021.
 4
          4.103 As set forth in the Declaration for Determination of Probable Cause filed in Pierce
 5
                 County Superior Court, Officers Collins, Burbank, and Rankine were criminally
 6
 7               charged for killing Manuel Ellis:

 8               ---

 9               “The charge of FELONY MURDER IN THE SECOND DEGREE against
10
               BURBANK and COLLINS is supported by the evidence that Ellis died during
11
               the course of and in furtherance of BURBANK and COLLINS's felonious
12
               assault and/or unlawful imprisonment of Ellis. The predicate felonies of
13
               assault in the second and third degrees are supported by evidence that
14
15             BURBANK and COLLINS, acting as either principles or accomplices, tackled

16             and struck Ellis multiple times, applied an LVNR on Ellis, and shot him with
17             a taser three times, all without justification for these uses of force.
18
               Accordingly, this evidence, along with other evidence detailed above,
19
               supports that BURBANK and COLLINS committed second degree assault by
20
               any of the following means: (1) intentionally assaulting Ellis and thereby
21
22             recklessly inflicting substantially bodily harm; (2) assaulting Ellis with the

23             intent to commit unlawful imprisonment; and/or (3) assaulting Ellis by

24             strangulation or suffocation. The evidence also supports that BURBANK and
25             COLLINS committed third-degree assault by either of the following means:
26
               (1) acting with criminal negligence in causing bodily harm to Ellis by means
27


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 1             of a weapon or other instrument or thing likely to produce bodily harm; and/or
 2             (2) causing bodily harm to Ellis accompanied by substantial pain that extends
 3
               for a period sufficient to cause considerable suffering. The predicate felony of
 4
               unlawful imprisonment is also supported by the above-detailed evidence that
 5
               BURBANK and COLLINS knowingly restrained Ellis without justification.
 6
 7               The charge of FIRST DEGREE MANSLAUGHTER against BURBANK

 8             and COLLINS is supported by the above-detailed evidence showing that the

 9             officers recklessly caused Ellis's death when they (1) assaulted and restrained
10
               Ellis without justification; (2) failed to render or call for urgent medical aid
11
               after Ellis exhibited medical distress and said he could not breathe; (3) placed
12
               Ellis in hogtie restraints; (4) failed to alert other officers to Ellis's medical
13
               distress; and (5) failed to intervene when the officer put the spit hood on Ellis
14
15             and then failed to remove the spit hood, among other facts and circumstances.

16               The charge of FIRST DEGREE MANSLAUGHTER against RANKINE is
17             supported by the above-detailed evidence showing that RANKINE recklessly
18
               caused Ellis's death when, after hearing Ellis say he could not breathe,
19
               RANKINE continued to hold Ellis in the prone position and to apply pressure
20
               onto his back. The charge is also supported by the evidence that RANKINE
21
22             failed to render or call for urgent medical aid as Ellis exhibited signs of a

23             medical crisis, failed to alert other officers to Ellis's medical distress, failed to

24             stop another officer from putting a spit hood over Ellis's head, and failed to
25             remove the spit hood as Ellis's condition declined, among other facts and
26
               circumstances.”
27


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 1             (Declaration for Determination of Probable Cause filed in State of Washington
 2             v. Christopher Shane Burbank, Pierce County Superior Court case number 21-
 3
               1-01286-6, attached hereto as Exhibit “A”).
 4
          4.104 Officers Collins, Burbank, and Rankine have pled not guilty to the criminal charges.
 5
          4.105 Even after Officers Collins, Burbank, and Rankine were charged with unlawfully
 6
 7               killing Manuel Ellis, the City has still declined to take any adverse action against

 8               them.

 9        4.106 Even after Officers Collins, Burbank, and Rankine were charged with unlawfully
10
                 killing Manuel Ellis, Tacoma has continued to pay the men their regular wages. To
11
                 date, Officers Collins, Burbank, and Rankine have received over 15 months of
12
                 compensation while on paid administrative leave.
13
          4.107 Tacoma citizens, including family members of Manuel Ellis, have effectively been
14
15               forced to help subsidize and support the unlawful conduct of Officers Collins,

16               Burbank, and Rankine through the taxes they must pay to the City.
17        4.108 The Defendants did not have a legitimate justification for stopping, seizing and
18
                 using deadly force against Manuel.
19
          4.109 The Defendants told many lies about the encounter and omitted critical facts from
20
                 their reports. As one example, Officers Collins and Burbank never advised anyone
21
22               that Manuel Ellis had put both of his hands up and tried to surrender.

23        4.110 Manuel Ellis experienced significant pain, suffering, and fear prior to dying.

24        4.111 Manuel Ellis was 33 years old when he was killed. He was a black man. Manuel
25               was treated like he was a dangerous wild animal. Defendants described Manuel as
26
27


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 1               being aggressive, growling, “baring his teeth,” and having “freakish” superhuman
 2               strength.
 3
          4.112 The Defendant’ actions were motivated by cruel, racist intent, and a belief that they
 4
                 could get away with lynching a black man on the public streets of Tacoma.
 5
          4.113 If not for the bravery of S.M. and S.C. using their cell phones to record part of this
 6
 7               incident and ultimately coming forward as independent eyewitnesses to say what

 8               they observed, the Defendants’ lies might have gone unchallenged and they likely

 9               would have avoided all consequences for killing Manuel Ellis.
10
          4.114 As of March 3, 2020, the Tacoma Police Department had not outfitted its vehicles
11
                 with dash cameras, or its patrol officers with body cams.
12
          4.115 The Tacoma Defendants believed they could act with impunity and kill Manuel
13
                 without suffering any repercussions, in part because they believed they were not
14
15               being recorded during the incident.

16        4.116 The Tacoma Defendants also believed they could kill Manuel without any
17               repercussions because Tacoma implicitly and overtly condones and defends
18
                 officers that use excessive force against individuals. Tacoma police officers are
19
                 aware that they are unlikely to receive any discipline when they use deadly force
20
                 against a human being. The City of Tacoma repeatedly fails to discipline officers
21
22               who commit acts of excessive force, especially when it involves the use of deadly

23               force.

24        4.117 The City of Tacoma has a policy or custom of failing to discipline officers who
25               violate the Fourth Amendment rights of individuals, use excessive force, seize
26
27


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 1               people without probable cause, fail to intervene to stop excessive force, and lie to
 2               coverup relevant evidence.
 3
          4.118 The City of Tacoma’s policy or custom tolerating and condoning police misconduct
 4
                 by its personnel, including Officers Collins, Burbank, Rankine, Ford, Farinas, and
 5
                 Komarovsky directly and proximately resulted in the death of Manuel Ellis.
 6
 7        4.119 As of March 3, 2020, the Pierce County Sheriff’s Office had not outfitted its

 8               vehicles with dash cameras, or its patrol officers with body cams.

 9        4.120 The Pierce County Defendants believed they could act with impunity and kill
10
                 Manuel without suffering any repercussions, in part because they believed they
11
                 were not being recorded during the incident.
12
          4.121 The Pierce County Defendants also believed they could kill Manuel without any
13
                 repercussions because Pierce County implicitly and overtly condones and defends
14
15               officers that use excessive force against individuals. Pierce County law

16               enforcement officers are aware that they are unlikely to receive any discipline when
17               they use deadly force against a human being. Pierce County repeatedly fails to
18
                 discipline officers who commit acts of excessive force, especially when it involves
19
                 the use of deadly force.
20
          4.122 Pierce County has a policy or custom of failing to discipline officers who violate
21
22               the Fourth Amendment rights of individuals, use excessive force, seize people

23               without probable cause, fail to intervene to stop excessive force, and lie to coverup

24               relevant evidence.
25
26
27


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 1          4.123 Pierce County’s policy or custom tolerating and condoning police misconduct by
 2                 its personnel, including Deputy Sanders and Lieutenant Messineo, directly and
 3
                   proximately resulted in the death of Manuel Ellis.
 4
            4.124 Tacoma failed to adequately train and supervise Defendants Collins, Burbank,
 5
                   Rankine, Ford, Farinas, and Komarovsky.
 6
 7          4.125 Pierce County failed to adequately train and supervise Defendants Sanders and

 8                 Messineo.

 9          4.126 Manuel’s family and loved ones miss him dearly. Manuel was a central figure in
10
                   their lives. He would make sure that his mother’s lawn was mowed and that she
11
                   was taking her medication. Manuel was always present in his mother’s life. Manuel
12
                   also provided his sister with significant care and support. He regularly watched her
13
                   children and was on the list of people authorized to pick them up from school. His
14
15                 nephews and nieces miss him as well. Tragically, Manuel’s minor child J.C. is

16                 forced to grow up without his father’s love and support.
17     V.       CAUSES OF ACTION
18
            5.1.   First Cause of Action. Defendants Matthew Collins, Christopher Burbank, Timothy
19
                   Rankine, Masyih Ford, Armando Farinas, Ron Komarovsky, Gary Sanders, and
20
                   Anthony Messineo are liable to the Plaintiffs for using excessive/deadly force and
21
22                 violating Manuel Ellis’s Fourth and Fourteenth Amendment rights, and/or for

23                 failing to intervene to prevent the other Officers from violating the decedent’s

24                 rights. (42 U.S.C. § 1983).
25          5.2.   The actions of the Defendants were objectively unreasonable, violated clearly
26
                   established law, and Plaintiffs’ claims are not barred by qualified immunity.
27


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 1        5.3.   Second Cause of Action. Defendant City of Tacoma is liable to the Plaintiffs for
 2               the violations of Manuel Ellis’s constitutional rights under 42 U.S.C. § 1983
 3
                 because the Defendant’s policies, procedures, or customs were the moving force of
 4
                 the constitutional violations.
 5
          5.4.   The myriad of failures described in the paragraphs above were due to, and were
 6
 7               emblematic of, the City of Tacoma’s inadequate and reckless policies, procedures,

 8               customs, and supervision regarding arrests, the Fourth Amendment, and the use of

 9               deadly force.
10
          5.5.   The City of Tacoma was deliberately indifferent to the fact that its inadequate and
11
                 reckless policies, procedures, customs, training, and supervision would be the
12
                 moving force behind its Police Officers using unnecessary and unreasonable force.
13
          5.6.   Upon information and belief, Defendants Matthew Collins, Christopher Burbank,
14
15               Timothy Rankine, Masyih Ford, Armando Farinas, and Ron Komarovsky were not

16               subject to any discipline as a result of their role in causing Manuel’s unjustified and
17               unnecessary death, or the violations of policy and reckless actions described above.
18
          5.7.   Defendant City of Tacoma’s ratification of this unlawful killing continues, and its
19
                 ratification and failure to take corrective action reflects its deliberate indifference
20
                 to the danger of constitutional violations and physical harm its policies and
21
22               practices create.

23        5.8.   Third Cause of Action. Defendant Pierce County is liable to the Plaintiffs for the

24               violations of Manuel Ellis’s constitutional rights under 42 U.S.C. § 1983 because
25               the Defendant’s policies, procedures, or customs were the moving force of the
26
                 constitutional violations.
27


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 1        5.9.    The myriad of failures described in the paragraphs above were due to, and were
 2                emblematic of, Pierce County’s inadequate and reckless policies, procedures,
 3
                  customs, and supervision regarding arrests, the Fourth Amendment, and the use of
 4
                  deadly force.
 5
          5.10.   Pierce County was deliberately indifferent to the fact that its inadequate and
 6
 7                reckless policies, procedures, customs, training, and supervision would be the

 8                moving force behind its officers using unnecessary and unreasonable force.

 9        5.11.   Upon information and belief, Defendants Gary Sanders and Anthony Messineo
10
                  were not subject to any discipline as a result of their role in causing Manuel’s
11
                  unjustified and unnecessary death, or the violations of policy and reckless actions
12
                  described above.
13
          5.12.   Defendant Pierce County’s ratification of this unlawful killing continues, and its
14
15                ratification and its failure to take corrective action reflects its deliberate indifference

16                to the danger of constitutional violations and physical harm its policies and
17                practices create.
18
          5.13.   Fourth Cause of Action. Defendants Matthew Collins, Christopher Burbank,
19
                  Timothy Rankine, Masyih Ford Armando Farinas, Ron Komarovsky, Gary
20
                  Sanders, and Anthony Messineo committed the tort of assault and battery.
21
22        5.14.   Fifth Cause of Action. Defendants Matthew Collins, Christopher Burbank, Timothy

23                Rankine, Masyih Ford, Armando Farinas, Ron Komarovsky, Gary Sanders, and

24                Anthony Messineo are liable to the Plaintiffs for the torts of outrage and intentional
25                infliction of emotional distress.
26
27


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 1            5.15.   Sixth Cause of Action. Defendants Matthew Collins, Christopher Burbank,
 2                    Timothy Rankine, Masyih Ford, Armando Farinas, Ron Komarovsky, Gary
 3
                      Sanders, and Anthony Messineo are liable for intentionally causing the wrongful
 4
                      death of Manuel Ellis.
 5
              5.16.   Seventh Cause of Action. Defendants Matthew Collins, Christopher Burbank,
 6
 7                    Timothy Rankine, Masyih Ford, Armando Farinas, Ron Komarovsky, Gary

 8                    Sanders, and Anthony Messineo are liable for negligently causing the wrongful

 9                    death of Manuel Ellis.
10
              5.17.   Eighth Cause of Action. Defendant City of Tacoma is liable for the tortious actions
11
                      of its officers undertaken within the course and scope of their employment, pursuant
12
                      to the doctrine of respondeat superior.6
13
              5.18.   Ninth Cause of Action. In committing the acts alleged in the preceding paragraphs,
14
15                    the Tacoma Police Officers acted at all relevant times within the scope of their

16                    employment with Tacoma. As a result, pursuant to State Law, Defendant City of
17                    Tacoma must indemnify the Defendant Officers for any judgment against them.
18
              5.19.   Tenth Cause of Action. Defendant Pierce County is liable for the tortious actions
19
                      of its officers undertaken within the course and scope of their employment, pursuant
20
                      to the doctrine of respondeat superior.
21
22            5.20.   Eleventh Cause of Action. In committing the acts alleged in the preceding

23                    paragraphs, Deputy Sanders and Lieutenant Messineo acted at all relevant times

24                    within the scope of their employment with Pierce County. As a result, pursuant to
25
26
     6
       Prior to filing this Complaint the Plaintiffs submitted Claim for Damages Forms to the City of
27   Tacoma and Pierce County in compliance with RCW 4.96.020. Any prerequisites to bringing
     claims under Washington law have been satisfied.

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 1                State Law, Defendant Pierce County must indemnify the Defendant Officers for
 2                any judgment against them.
 3
          5.21.   Twelfth Cause of Action. All Defendants are liable for damages arising from their
 4
                  unlawful conduct that caused the wrongful death of Manuel Ellis. The Defendants’
 5
                  actions as described in this Complaint were a substantial factor in bringing about
 6
 7                Manuel’s death, and without those actions, the death of Manuel would not have

 8                occurred.

 9        5.22.   Marcia Carter has suffered complete destruction of her parent child relationship,
10
                  loss of companionship, and mental anguish as a result of the wrongful death of her
11
                  son.
12
          5.23.   Thirteenth Cause of Action. Monet Carter-Mixon is the personal representative of
13
                  the Estate of Manuel Ellis and she is authorized to pursue claims against the
14
15                Defendants.

16        5.24.   Prior to his death, Manuel suffered serious personal injuries at the hands of the
17                Defendants, including but not limited to severe pain and emotional distress.
18
          5.25.   All Defendants are liable for these damages arising from their unlawful conduct
19
                  that caused Manuel’s severe pain and emotional distress in that Manuel’s injuries
20
                  were caused by the Defendants’ wrongful acts, deliberate indifference,
21
22                recklessness, neglect, carelessness, or unskillfulness while acting as agents of the

23                City of Tacoma and/or Pierce County.

24        5.26.   The Defendants actions as described in this Complaint were a substantial factor in
25                bringing about the injuries described in this Count, and without those actions, these
26
                  injuries would not have occurred.
27


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 1     VI.         Plaintiffs’ Immense Damages
 2           6.1      Manuel Ellis (known to his family and friends as “Manny”) was 33 years old when
 3
                      he died. Based on his life expectancy it is expected that he would have lived for
 4
                      several decades if his life had not been abruptly cut short by the Defendants.
 5
             6.2      Manuel had a passion for life. He loved music and sports. Manuel loved playing
 6

 7                    drums in his church band and enjoyed time with his family. He especially loved

 8                    spending time with his mother, siblings, and other family members.

 9           6.3      Manuel experienced unthinkable pain, suffering, and fear prior to death. Manuel
10
                      suffered for an extended period of time before he passed away.
11
             6.4      As a result of the killing of her son, Marcia Carter suffered injury to her parent child
12
                      relationship with Manuel. She has suffered, and continues to suffer, serious
13
                      emotional harm as a result of Defendants’ unlawful conduct.
14

15           6.5      As a proximate result of the Defendant’s unlawful conduct described above,

16                    Plaintiffs have incurred medical and funeral expenses, lost earnings and earning
17                    capacity, suffered physical and emotional pain, suffering, and disfigurement, lost
18
                      liberty, lost the enjoyment of life, and suffered other special and general damages.
19
             6.6      Plaintiffs seek recovery of reasonable attorneys’ fees and costs pursuant to 42
20
                      U.S.C. § 1988 and applicable Washington law.
21

22           6.7      The actions of Defendants Collins, Burbank, Rankine, Ford, Farinas, Komarovsky,

23                    Sanders, and Messineo were reprehensible, malicious, oppressive, and showed

24                    reckless disregard for Manuel’s life. Plaintiffs seek recovery of punitive damages
25                    from the individually named Defendants.
26

27


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 1          6.8     Per RCW 49.60.030, the Defendants are liable to the Plaintiffs for violation of the
 2                  Plaintiffs’ civil rights to the right to be free from discrimination because of race,
 3
                    creed, color, national origin, sex, honorably discharged veteran or military status,
 4
                    sexual orientation, or the presence of any sensory, mental, or physical disability or
 5
                    the use of a trained dog guide or service animal by a person with a disability is
 6

 7                  recognized as and declared to be a civil rights. Manuel Ellis was a black man who

 8                  was stopped by police officers while walking home from 7-Eleven with doughnuts

 9                  and a bottle of water. He was deemed suspicious by the officers and they beat, tased,
10
                    choked, and hogtied him as a result of their false perceptions of Manuel Ellis that
11
                    are irretrievably linked to his race.
12
            WHEREFORE, Plaintiffs respectfully requests that this Court enter judgment in their favor
13
     and against Defendants; award compensatory damages and attorney fees, as well as punitive
14

15   damages against the Defendants; and enter any additional relief this Court deems just and

16   appropriate.
17          DATED this the 15th day of September, 2021.
18

19                                                  JAMES BIBLE LAW GROUP

20

21                                                  By_____________________________
                                                          James Bible, WSBA #33985
22
                                                          14205 Se 36th Street Suite 100
23                                                        Bellevue, WA 98006
                                                          Telephone: 425-519-3675
24                                                        Email: James@biblelawgroup.com
                                                          Attorney for Plaintiffs
25

26

27


      COMPLAINT - 30                                                              JAMES BIBLE LAW GROUP
                                                                                14205 SE 36TH STREET SUITE 100
                                                                                 Bellevue, Washington 98006
                                                                                       T: 425-519-3675
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 1                                     DERMER APPEL RUDER, LLC
 2
 3
                                       By   s/Stephen Dermer
 4                                           Stephen Dermer
                                             Georgia Bar No. 219267
 5                                           6075 The Corners Parkway, Suite 210
                                             Peachtree Corners, GA 30092
 6                                           Telephone: 404-881-3542
 7                                           Email: sdermer@darlawllc.com
                                             Attorney for Plaintiffs
 8                                           (Pro Hac Vice application pending)

 9
10
                                       By   s/ Mathew A. Ericksen Sr.
11                                          Matthew A. Ericksen, Sr.
                                            Georgia Bar No. 304088
12                                          6075 The Corners Parkway, Suite 210
                                            Peachtree Corners, GA 30092
13                                          Telephone: 404-881-3543
                                            Email: mericksen@darlawllc.com
14
                                            Attorney for Plaintiffs
15                                          (Pro Hac Vice application pending)

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                                                                14205 SE 36TH STREET SUITE 100
                                                                 Bellevue, Washington 98006
                                                                       T: 425-519-3675
